
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on April 16, 1974 (293 So.2d 742) reversing the judgment of the Circuit Court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed March 31, 1976 (334 So.2d 257) and mandate now lodged in this court, quashed this court’s judgment with directions to reinstate the judgment of the trial court,
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on May 21, 1974 is withdrawn, the judgment of this court filed April 16, 1974 is vacated, the said opinion and judg*407ment of the Supreme Court of Florida is herewith made the opinion and judgment of this court and the judgment of the circuit court is reinstated and affirmed. Costs allowed shall be taxed in the circuit court (Rule 3.16 b, F.A.R.).
